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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                                )
KASPERSKY LAB, INC.                             )
                                                )
and                                             )
                                                )
KASPERSKY LABS LIMITED                          )
                                                )
                           Plaintiffs,          ) Civ. Act. No. 17-cv-02697-CKK
                                                )
        v.                                      )
                                                )
U.S. DEPARTMENT OF HOMELAND SECURITY            )
                                                )
and                                             )
                                                )
KIRSTJEN NIELSEN, in her official capacity as   )
Secretary of Homeland Security                  )
                                                )
                           Defendants.          )
                                                )

      REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR
                     PRELIMINARY INJUNCTION
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       Defendants’ Opposition in Response to Plaintiffs’ Application for Preliminary Injunction

(“Response” or “Resp.”) warrants the following reply.

                                        INTRODUCTION

       “[T]he power of debarment is tantamount to one of life or death over a business.”

Gonzalez v. Freeman, 334 F.2d 570, 575 n.5 (D.C. Cir. 1964) (J. Burger)(quotation omitted).

DHS exercised this power against Plaintiffs: Binding Operational Directive 17-01 (the “BOD”)

bars Plaintiffs from contracting with the federal government, publicly labels them an information

security threat, and results in irreparable reputational and financial harm. Indeed, Defendants do

not dispute that the BOD deprived Plaintiffs of their liberty interests.

       Nevertheless, Defendants argue that the Court should not reach this issue, claiming that

the National Defense Authorization Act for Fiscal Year 2018 (“NDAA”) precludes standing

because it effects an independent debarment of Plaintiffs’ products. Plaintiffs have challenged

the NDAA by separate lawsuit, and its effects are no longer inevitable. Presently, the BOD is the

only legal bar to Plaintiffs’ exercise of their rights and the only provision formally labeling

Plaintiffs as an information security threat.     And, this Circuit’s case law makes clear that

rescission of the BOD need not redress every reputational injury suffered by Plaintiffs—only the

discrete one stemming from the BOD. Defendants’ irreparable harm arguments are premised on

the same theories and are likewise unavailing.

       Defendants’ claim that Plaintiffs received adequate due process for the deprivation of

their liberty rights mischaracterizes the record and ignores this Circuit’s holdings. The only

purported process occurred after DHS issued the BOD. Since the BOD effected the deprivation

at the time it was issued, this was a deprivation of due process. Nor was the “process” afforded




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after this deprivation constitutionally adequate. Simply put, the “Final Decision” was a foregone

conclusion.


       I. Plaintiffs Have Standing to Challenge their Own Debarment.

           A. The enactment of the NDAA does not preclude the redress of Plaintiffs’
              injuries.

       Defendants argue that Plaintiffs lack standing on the grounds that enactment of Section

1634 of the NDAA has essentially duplicated the effect of the BOD. Defendants rest their

argument on cases providing that where an independent and unchallenged action will cause the

same harm, the injury is not redressable. See Resp. at 15-16. Neither predicate exists here.

               1. Plaintiffs have challenged the NDAA as an unconstitutional Bill of
                  Attainder.
       First, concurrent with this filing, Plaintiffs are challenging the NDAA. Kaspersky Lab

has filed a Complaint in this Court challenging the NDAA as an unconstitutional bill of attainder.

See Complaint, Kaspersky Lab, Inc., et al, v. United States, 18-cv-325 (D.D.C. Feb. 12, 2018).

As a result, Defendants’ cited cases are now inapposite, as the plaintiffs in those cases failed

because they challenged only one governing rule, regulation, or label, leaving another

unchallenged rule that deprived them of the same right. In other words, these were all half-

measures; to exercise the right at issue, the petitioner had to invalidate two regulations, but

challenged only one and a favorable ruling would leave them in precisely the same position.1

Here, Plaintiffs are not asking for a half-measure and—if successful—would not obtain a hollow

1
  Plaintiffs’ inapplicable authority turning on the existence of some unchallenged law, rule, or
label include Advantage Media, L.L.C. v. City of Eden Prairie, 456 F.3d 793, 801 (8th Cir. 2006)
(unchallenged provisions of code bar proposed sign); White v. United States, 601 F.3d 545, 552
(6th Cir. 2010) (unchallenged state law barred cockfighting); Delta Const. Co. v. EPA, 783 F.3d.
1291, 1296 (D.C. Cir. 2015) (unchallenged NHTSA rule caused same harm as EPA regulation);
Paracha v. Obama, 194 F. Supp. 3d 7, 10 (D.D.C. 2016) (unchallenged Executive decision
caused same harm as statute); McConnell v. FEC, 540 U.S. 93 (2003)(unchallenged provision of
same statute). See Resp. at 15-16.

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victory; they are seeking to invalidate both federal actions.2 In short, Defendants cannot avoid

their constitutional obligations in this case by citing to the NDAA.

                2. The NDAA ban does not yet have legal effect.
        Second, the NDAA is not yet legally effective. It has an October 1, 2018 “Effective

Date.” Today, the BOD is the only action that deprives Plaintiffs their legal ability to sell to the

Government. Defendants attempt to conflate this by stating that the October 1 date “is a deadline,

not a start date.” Resp. at 19. In reality, the October 1, 2018, date is both a deadline and a start

date. It is the effective date.

        Defendants cannot have it both ways, arguing that the BOD “is the operative prohibition

on agency use of Kaspersky [Lab] products” until October 1, 2018 (Final Information

Memorandum at AR0756-AR0757) in order to sustain the BOD—while also arguing that the

NDAA has complete and immediate effect “…[e]ven without being in force … by making the

prospect of doing business with Kaspersky [Lab] during the implementation period a practical (if

not legal) impossibility.” Resp. at 19.

            B. Plaintiffs’ injuries fairly trace to the BOD and are likely to be redressed by
               rescission of the BOD.

        With that background, it is clear that Plaintiffs meet the three elements of standing to

challenge their own debarment. Defendants do not and cannot dispute Plaintiffs’ injuries-in-fact:


2
  Defendants’ other cases at Resp. 15-16 are inapposite because they involve: (1) challenges to
the wrong regulations—see Texas v. EPA, 726 F.3d 180, 199 (2013) (challenged rules instead of
Act), (2) challenges seeking the wrong relief—Workers Union of Am., AFL-CIO v. Transp. Sec.
Admin., 492 F.3d 471, 477 (D.C. Cir. 2007) (challenging only agency’s decision to switch to new
rule when both old and new rule had same result for petitioner), (3) challenges where the harm
could not be undone—Physician's Education Network, Inc. v. Department of Health, Education
& Welfare, 653 F.2d 621, 623 (D.C. Cir. 1981) (harm from Congress relying on report no longer
redressable where Congress had already relied on report), and (4) mismatch between object of
challenge and claimed injury—Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th 2014)
(“claimed injury arises from the Secretary’s decision to let its permit expire, not the designation
in the notice”).

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their loss of the legal right to sell to the government, and their reputational harm—either or both

of which establish standing. Rather, Defendants argue that those injuries are not “fairly traceable

to the [BOD]” and are not “likely to be redressed by [rescission of the BOD].” Resp. at 25, 14;

see Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). These arguments lack merit.

               1. The loss of Plaintiffs’ legal right to sell to the U.S. Government would be
                  redressed by a favorable decision rescinding the BOD.
       Defendants attack the redressability element of Plaintiffs’ first injury—the deprivation of

Plaintiffs’ legal right to sell to the government—arguing that the BOD will have no practical

effect on Plaintiffs because it is unlikely that Plaintiffs would be able to submit a winning bid for

government work. Resp. at 17-19. This misses the point. The injury is Plaintiffs’ deprivation of

a right to apply for a contract with the government. Defendants do not dispute traceability—i.e.,

that the BOD caused Plaintiffs’ debarment, and hence, their loss of the right to sell to the

government. That certain government officials may believe Plaintiffs would not be able to

submit a successful bid does not diminish the right to submit the bid in the first place. What

matters is that rescission of the BOD restores the loss of this legal right. See generally, e.g.,

ACORN v. United States, 618 F.3d 125 (2d Cir. 2010) (holding that plaintiff ACORN had

standing to challenge a federal appropriations law singling ACORN out by name and cutting off

its right to receive federal funds—although there was no assertion that ACORN would receive

federal funds, or even would apply to government agencies for money, if the court invalidated

the law: “if the plaintiffs are not and never will be interested in applying for grants or funding

from the Department of Defense, the fact that the Defense Department’s appropriations law

specifically prohibits ACORN and its affiliates from being eligible for federal funds affects the

plaintiffs’ reputation with other agencies, states, and private donors.”) Id. at 134.




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       Defendants’ cases on redress for the loss of a legal right are irrelevant here. Defendants’

so-called “status quo” cases (see Resp. at 17-19) stand for the notion that “[w]hen the existence

of one or more of the essential elements of standing—in this case redressability—depends on the

unfettered choices made by independent actors not before the courts and whose exercise of

broad and legitimate discretion the courts cannot presume either to control or to predict, it

becomes substantially more difficult to establish standing.” Scenic Am., Inc. v. DOT, 836 F.3d

42, 50 (D.C. Cir. 2016)(emphasis added, internal quotations omitted). For example, in Renal

Physicians Ass’n v. DOH, 489 F.3d 1267 (D.C. Cir. 2007)(cited at Resp. at 17, 19, 24, 25),

plaintiff’s claimed injury—loss of income for doctors caused by the challenged regulatory safe-

harbor—would not be redressed by invalidation of the challenged regulatory safe-harbor,

because there was no showing that the relevant third parties (dialysis facilities and hospitals)

would actually pay more money to doctors. 3 Clearly, this rule has no applicability here.

Plaintiffs are not challenging the BOD in order to force federal agencies to buy their products

again—but are simply seeking to recover the legal right to sell to those agencies.

       Defendants’ cases purporting to instruct the Court on how to assess the redressability

element are similarly unhelpful. Defendants quote Common Cause v. Dept. of Energy, 702 F.2d

245 (D.C. Cir. 1983), claiming that redressability turns on whether judicial intervention “will

produce tangible, meaningful results in the real world”—but that case involved a lawsuit to

require the government to develop an energy conservation plan for government buildings. How

that has application to the debarment context is unclear. Defendants also cite to Huntington

Branch, NAACP v. Huntington, 689 F.2d 391, 394 (2d Cir. 1982) (cited at Resp. at 22), but omit

the Second Circuit’s holding that plaintiffs had standing and the reason why: “[D]ismissal of a
3
 See also, Nat’l Wrestling Coaches Ass’n v. Dep’t of Educ., 366 F.3d 930 (D.C. Cir.
2004)(applying same rule) and St. John’s United Church of Christ v. FAA, 520 F.3d 460 (D.C.
Cir. 2008)(same); U.S. Ecology, Inc. v. DOI, 231 F.3d 20 (D.C. Cir. 2000)(same).

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complaint because of a lack of committed financing may well prevent any litigant from

challenging a zoning ordinance.” Like the zoning ordinance in Huntington, the problematic laws

and regulations at issue may make government officials reluctant to buy Plaintiffs’ products, but

that does not mean that Plaintiffs lack standing to challenge those official acts.4

       Simply put, the loss of Plaintiffs’ legal right to sell to the government will be “likely

redressed” by a favorable decision in this case. Rescission and remand of DHS’s determination,

which is in violation of Plaintiffs’ procedural due process rights and the APA, will erase an

improper legal decision. This relief would remove the operative debarment, reinstating

Kaspersky Lab’s right to sell to the federal government. To be sure, there are additional harms—

some which will also be alleviated by this decision, some which may not. But that does not

deprive Plaintiffs of standing to challenge the deprivation of their legal right to sell to the

government.

               2. Plaintiffs’ reputational injury is fairly traceable to the BOD, and likely
                  would be redressed by rescission.
       Defendants also attack traceability and redressability of Plaintiffs’ reputational injury,

arguing that (1) “Kaspersky Lab’s … reputational injury is not fairly traceable to the BOD”

because of other factors harming the company’s reputation (Resp. at 25), and that (2) “rescinding

the BOD would not relieve … the reputational harm.” (Id. at 22-23). But Foretich v. United

States, 351 F.3d 1198 (D.C. Cir. 2003)—the seminal D.C. Circuit case concerning the

traceability and redressability of reputational injuries by government action—unequivocally

rejects these arguments.


4
  Defendants also cite Int’l Union of Bricklayers & Allied Craftsmen v. Meese, 761 F.2d 798, 801
(D.C. Cir. 1985), which involved a union’s challenge to an immigration policy that allowed
foreign workers to come to the United States. There, the court denied relief to such “an abstract
‘injury,’” disallowing the action “just because one disagrees with it, or even finds it odious,
distasteful and offensive.”

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       In Foretich, the D.C. Circuit held that plaintiff, Dr. Foretich—accused by his ex-wife of

sexually molesting their daughter and sullied by the media and certain lawmakers—had standing

based on reputational injury to challenge as an unconstitutional bill of attainder the Elizabeth

Morgan Act, a federal law singling out Dr. Foretich and restricting his child visitation rights—

even though the legal effect of the Act had become moot, as the child was now an adult. Id. at

1209. The D.C. Circuit rejected the same traceability argument that Defendants now advance

here: “[Even if] damage to Dr. Foretich’s reputation comes in part from the publicity

surrounding the custody dispute and [his ex-wife’s] allegations, not solely from the [Elizabeth

Morgan Act] … this misses the point. The Act itself has caused significant harm to Dr.

Foretich.” Id. at 1216. The Court also rejected the same redress arguments advanced by

Defendants here, explaining: “[B]y vindicating Dr. Foretich’s assertion that Congress unfairly

and unlawfully rendered a judgment as to his character and fitness as a father, declaratory relief

will provide a significant measure of redress sufficient to satisfy the requirements of Article III

standing.” Id.     The D.C. Circuit rejected the notion that Dr. Foretich had to “parse out” the

Act’s harm from other negative attention—which Defendants argue Kaspersky Lab must do here.

See Resp. at 27.

       Foretich also rejected another of Defendants’ arguments: that Plaintiffs cannot establish

redressability unless they show that their lost (commercial and retail) customers would re-engage

with their products, upon rescission of the BOD. See Resp. at 25. Specifically, in Foretich, the

D.C. Circuit observed that Dr. Foretich was “[o]nce a prominent oral surgeon,” that “[his]

business suffered a 30% decline following adoption of the Act,” that he was “[f]orced to seek

employment outside of northern Virginia, denied a position at a North Carolina university in part

because of the Act,” and that he was “asked to resign his position as Regent of the American



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College of Oral and Maxillofacial Surgeons.” Foretich, 351 F.3d at 1209. But the D.C. Circuit

did not require Dr. Foretich to show that patients who had left his practice would return to him

upon invalidation of the Act, or that those other identified injuries would be redressed. Yet that

is what Defendants claim Kaspersky Lab must demonstrate for the Court even to hear this case.

       Further, in Foretich, the challenged Act was nearly seven years old at the time of the D.C.

Circuit’s decision, and no longer of legal effect because Dr. Foretich’s daughter had reached age

21—yet the D.C. Circuit still held that Dr. Foretich had standing based on reputational injury

alone, and invalidated it as an unconstitutional bill of attainder. Id. at 1209. By contrast, the

BOD is just months old, and Plaintiffs have submitted fresh evidence establishing the

reputational injury’s traceability and redress. Plaintiffs submitted evidence of customers (both

retail and commercial) specifically citing the BOD (rather than any other source) as the reason

they decided not to make a purchase—or decided to return—Plaintiffs’ products.                See

Application at 34. Plaintiffs also submitted evidence that “[the] company will be on stronger

ground in addressing immediate customer concerns should the BOD be preliminarily rescinded.”

(Declaration of Angelo Gentile, ¶ 24).

       Plaintiffs need show only that rescission likely would redress the discrete harm stemming

from the BOD’s labelling Plaintiffs’ products as “information security risks” to federal

government information systems. Indeed, as the Supreme Court has stated, “[A] plaintiff satisfies

the redressability requirement when he shows that a favorable decision will relieve a discrete

injury to himself. He need not show that a favorable decision will redress his every injury.”

Larson v. Valente, 456 U.S. 228, 243 n.15 (1982) (emphasis in original).

       Finally, it bears mention that Defendants’ quotations from McBryde v. Committee to Rev.

Cir. Council Conduct, 264 F.3d 52 (D.C. Cir. 2001)(see Resp. at 23, 24), to support its redress



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argument are equally unhelpful. In McBryde, the court held that a censured district judge had

standing, based on injury to his reputation, to challenge his public reprimand, but not to

challenge the record of his suspensions, which had expired and become moot. See Id. at 55-58.

The standing analysis in McBryde turned on mootness. See Id. at 57 (“injury to reputation []

alleged as a secondary effect of an otherwise moot action.” (emphasis added)). Defendants do

not argue that Plaintiffs’ BOD claim is legally moot—in fact, they acknowledge it is “not

actually moot.” See Resp. 27, n.21. The BOD is exactly the type of public reprimand the

McBryde court found was an injury capable of being redressed by the courts.

       II. Defendants Have Failed to Articulate Sufficient Due Process or Produce an
           Adequate Administrative Record.

       The Response is the latest in a series of unsuccessful attempts by Defendants following

the BOD to dress-up the administrative record and the accompanying “process” to give the

appearance of adequate legal, administrative, and constitutional protections.

           A. DHS’s decision was final upon issuance of the BOD in September 2017; the
              “Final Decision” issued in December is an illusion which Defendants
              continue through their Response.

       As explained at length in our Application Memorandum, the BOD was fully final and

injurious at the time that it was issued. See Application at 10. No notice or opportunity to be

heard was afforded by Defendants prior to that time, as was required. See Id. at 19.

       Defendants now seek to retroactively argue that the BOD itself was a pre-deprivation

notice and that no decision was made or injury caused to the Plaintiffs prior to the Final Decision

in December. Resp. at 28. This argument is wholly unsupported by the administrative record and

mis-characterizes the approach taken by the Defendants throughout this post-BOD process.

       In describing the BOD in their Response, Defendants betray their true intent: “DHS, on

September 13, 2017, Issued BOD 17-01[…] Acting Secretary Elaine Duke issued the directive

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after determining that the presence of Kaspersky [Lab] products on federal information systems

presents a “known or reasonably suspected threat, vulnerability or risk” to federal information

and information systems.” Resp. at 10. (emphasis added). Accordingly, it is clear that all relevant

legal determinations and the relevant administrative decision had been made prior to, or

immediately upon, the issuance of the BOD in September, without any notice to Plaintiffs or a

meaningful opportunity to be heard.

       In its continued series of contradictions, only two pages later in their Response,

Defendants argue the same decision was in fact made in December and then only “[a]fter closely

reviewing the company’s submission of opposition to the BOD.” Resp. at 12. In so doing,

Defendants again conflate the BOD as pre-deprivation “notice” and the 30-60-90 day structure as

a pre-deprivation consultation period. It was neither. Rather, the BOD set in motion a process for

the identification and removal of Plaintiffs’ products from federal information systems that had

no prospect of being reversed. The 30-60-90 day structure was always an implementation phase

and never an administrative review period.

       Relatedly, Defendants are simultaneously critical of the filing for preliminary injunction

“more than four months after DHS issued the BOD” while also arguing that no final decision

was made until December 2017. Resp. at 2. Had Plaintiffs brought their Complaint in September,

Defendants would surely have argued that they had not exhausted their administrative remedies

and so redress of the court under the APA would not have been available.

       Notwithstanding the obvious deficiencies in the advertised process at the time and

Plaintiffs’ immediate and ongoing injury occasioned by the BOD, Plaintiffs in good faith sought

to engage with Defendants during these months in the hope that Defendants would rectify their

errors or give proper consideration to the Kaspersky Lab Submission. Defendants did not do so,



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thereby warranting the Plaintiffs’ prompt filing of the Complaint and Application for Preliminary

Injunction in this matter.

             B. Plaintiffs suffered injury long before the Final Decision.

          In issuing the BOD, Defendants indicated their clear intent to all federal agencies and to

the world that they had determined Kaspersky Lab products to be a “known or reasonably

suspected threat, vulnerability or risk” to federal information systems. The damage was

immediate. This is clearly evidenced by the actions taken by a number of agencies to remove

Plaintiffs’ software prior to the 90-day mark. See Application at 10. It makes no difference that

Defendants did not expressly direct any agency to do so, the damage caused prior to the 90-day

mark is self evident, and would not have occurred but for the manner in which the BOD was

issued.

          Indeed, Defendants make precisely this argument with respect to the effective date of the

NDAA and its implementation, arguing that prior to its effective date, the impending ban would

“make the prospect of doing business with Kaspersky during the implementation period a

practical (if not legal) impossibility […] Congress has spoken on the use of Kaspersky products,

and its intent was clear.” Resp. at 19. Defendants cannot simultaneously argue that the BOD

caused Plaintiffs no injury prior to the “Final Decision” as DHS’ intent was equally clear at the

time the BOD was issued.

          Ample opportunity was available for Defendants to grant Plaintiffs notice and an

opportunity to be heard prior to the BOD being issued. Defendants claim that “[i]n the weeks

and months before the BOD, the Department engaged in extensive consultations with its

cybersecurity experts and interagency partners and reviewed information from a variety of




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sources […]” Resp. at 10. However, Defendants failed to consult or engage with the one source

with which they were constitutionally obliged to: the Plaintiffs.

       If, as they now argue, the period between the BOD and the Final Decision represented a

“fact finding” or “information-gathering” stage, and a pre-deprivation opportunity for the

Plaintiffs to be heard (Resp. at 30), it would have been entirely possible for Defendants to have

designed a process which fulfilled that objective, comported with Plaintiffs’ due process rights,

and delayed injury to the Plaintiffs until a final decision was made.

       For example, via either a BOD or a simple letter, agencies could have been asked to

identify whether they were using Plaintiffs’ software. At the same time, Defendants could have

given Plaintiffs proper pre-deprivation notice, the administrative record, and a right to respond,

before publicizing the allegations. Such a notice would have come closer to the type of pre-

deprivation notice considered appropriate before imposing, for example, the designating of a

party as a foreign terrorist organization in Nat’l Council of Resistance of Iran v. Dep’t of State,

251 F.3d 192, 207 (D.C. Cir. 2001). In that case, the D.C. Circuit found it was “not immediately

apparent” how providing notice would work any harm to the government’s interest in “national

security.” Id. at 207, 208. Here, nothing in the record suggests an “extraordinary situation,” or

an indication that the “State must act quickly,” or that “it would be impractical to provide pre-

deprivation process,” or that this is one of those “limited cases demanding prompt action.” Pre-

deprivation process would have in no way inhibited the government’s interest in security.

       In this hypothetical process, now armed with the results of their fact-finding and the input

of the Plaintiffs, DHS could have made an informed decision about the information security risks

(if any) presented by Plaintiffs’ (and others’) software and notified agencies of how those risks

could be properly and consistently mitigated.



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       The record is clear: Defendants proceeded otherwise.

       At best, affording Plaintiffs an opportunity to make a submission after the BOD was

issued is a post-deprivation appeal process, and is nevertheless inadequate. In actual fact, no

opportunity existed for Plaintiffs to challenge the BOD. The decision had already been made,

was being implemented, and had no genuine prospect of being reversed.              No meaningful

“decision” was made in December 2017. The status quo from the date of the BOD’s issuance

was simply maintained “without modification.” See Information Memo for Acting Secretary,

Dec. 4, 2017 at AR0753.

           C. Defendants seek to retroactively demonstrate due process where none exists.

       Upon issuance, it was immediately clear to all concerned, including Defendants, that the

BOD gave insufficient consideration to the due process rights of the Plaintiffs.

       The BOD Decision and the letter by which it was conveyed to Plaintiffs contained only

passing reference to the fact that an administrative process was to be provided to Plaintiffs and

other affected parties, without providing any meaningful detail. It was clear that a “process” was

an afterthought and not considered by Defendants to have been a central part of the review and

decision making process. The repeated announcement of a forthcoming “administrative process”

absent any meaningful standards actually being provided should not be confused as

constitutional due process. This was administrative process in name only.

       Ever since, Defendants have highlighted their attempts to retroactively demonstrate (or

appear to demonstrate) due process where none existed. On September 19, 2017, an enumerated

“process” did appear in the Federal Register, which, as described elsewhere, effectively

amounted only to the ability for the Plaintiffs to write a letter of objection to the Department,




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hoping beyond hope that the BOD decision would be reversed. 82 Fed. Reg. 43,782 (Sept. 19,

2017)

   The Federal Register further provided that, following DHS’s receipt of a response to the

BOD, “[T]he Secretary’s decision will be communicated to the entity in writing by December 13,

2017.” See id. at 43,784. December 13, 2017 was one day after the 90-day deadline by which

agencies were to have begun removing Kaspersky Lab products. In apparent acknowledgement

of this procedural deficiency, and in an attempt to conceal the fact that the process was

inadequate and illusionary, the Final Information “recommend[ed] that [the Acting Secretary]

respond to Kaspersky and issue [her] Final Decision on or before Monday, December 11”—

notwithstanding the December 13, 2017, deadline set forth in the Federal Register.            See

Information Memo for Acting Secretary, Dec. 4, 2017 at AR0754.

   Defendants did not provide the BOD Information to Plaintiffs until September 29, 2017 (two

weeks after the BOD had been issued, and Plaintiffs were notified), and then only following

request of Plaintiffs’ counsel. See Decl. of Ryan Fayhee at Document 10-3 ¶ 8. It is clear that,

absent this request, the administrative record would not otherwise have been provided as part of

the stated process. Defendants now incorrectly claim that the BOD Information was provided

“at the beginning of the administrative process” (Resp. at 35.), retroactively implying a level of

forethought and planning on behalf of Defendants, where none actually existed at the time.

   Despite repeated requests by Plaintiffs’ counsel for immediate engagement (See Email

Correspondence between Ryan Fayhee and Daniel Sutherland, Fayhee Decl. at Ex I) plaintiffs

were only afforded a meeting with DHS following its formal submission. The meeting occurred

on November 29, 2017, over two months after the BOD was issued. Such a meeting was clearly

not planned or anticipated to be part of any due process at the time of the BOD and was only



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allowed to give the appearance of an adequate process. In an attempt to meet their due process

obligations, Defendants now incredibly argue that this limited and reluctant engagement amounts

to “a fully interactive process.” Resp. at 12. The record shows otherwise.

   The meeting itself was perfunctory and not indicative of meaningful consideration or due

process, as indicated by the issuance of the Final Decision only a week later, on December 6,

2017.

   Right up to, and including in the Final Decision and its Information, Defendants continued to

introduce new materials and arguments into the administrative record (including but not limited

to the “Maggs Report”). Defendants now list the Maggs Report and the supplemental NCCIC

report included with the Final Decision in its list of documents forming part of the administrative

record, to which they argue Plaintiffs had opportunity to respond, as if those documents had been

available to the Plaintiffs during the review period from the beginning. Resp. at 11. and 41.

           D. Defendants’ administrative process falls well short of what would have been
              required to debar Plaintiffs under the Federal Acquisition Regulations.

        The actions taken by Plaintiffs clearly amount to a debarment of Plaintiffs’ products. In

fact, the Decision is explicit that DHS considered the BOD to be a more “appropriate” process

than a debarment proceeding under the FAR principally because it is more draconian (Decision

at 4). The BOD had immediate effect since, in the Defendants’ own words (used in relation to

their claimed immediate debarring effect of the NDAA) “no agency would make an investment

in Kaspersky software and go to the trouble of testing, installing, and integrating the software,

only to have to remove it and start the process anew within a matter of months.” Resp. at 20,

citing Schneider Declaration at ¶¶ 9-11.      Plaintiffs concede that had debarment proceeded

through the FAR, the attendant “well-established” and “constitutionally adequate” debarment

procedures would have had to have been followed. Resp. at 32.


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        Defendants go on to argue, however, that “the process afforded to Kaspersky not only

meets [the FAR requirements], but even exceeds it in important ways” (Resp. at 29.) and that

“any differences between the two procedures are not of constitutional dimension.” Resp. at 32.

However, Defendants make only one comparison to the FAR process, namely that Plaintiffs

were afforded “52 days – more than three weeks longer than the 30 days required under the

FAR” to respond to the BOD. Resp. at 30.

        Under the FAR, debarring officials must provide formal notice of proposed suspension

and/or debarment, including: (1) the reasons for the proposed debarment in terms sufficient to

put the contractor on notice of the alleged conduct upon which the action is based, (2) notice of

the opportunity to submit information and arguments in opposition to the proposed debarment

within 30 days of receipt of the notice, (3) procedures that will govern the agency’s decision-

making process, and (4) the effects of proposed and actual debarment. See 48 C.F.R. Part 9.406-

3(c). Critically, the debarring official’s decision may be made only within 30 working days after

receipt of information and argument from the contractor. See 48 C.F.R. Part 9.406-3(d)(1). This

final protection under the FAR is consistent with the due process requirement that an affected

party be given a meaningful opportunity to rebut the evidence before action is taken to deprive it

of a property or liberty interest.

        The additional 22 days afforded to Plaintiffs to respond to the BOD is immaterial when

compared to the fundamental difference between the FAR process and that afforded by

Defendants: namely that the FAR process has to conclude before any debarment can take effect.

Under the FAR process there is a 60-day period between the notice and the first day upon which

the debarment can take effect. Contrary to Defendants’ contention, this difference is absolutely

of a “constitutional dimension.” It goes to the heart of constitutionally sound due process.



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        III. Defendants Overstate the Degree of Discretion Granted to DHS Under FISMA
            and the Degree of Deference Afforded under the APA.

        In the alternative, and assuming a deficient due process, Defendants argue either that the

relevant provision of the FISMA is not reviewable under the APA (since it affords absolute

discretion to DHS in issuing binding operational directives) and/or that enhanced deference

ought to be granted to the Defendants in light of the national security context, urgency, and

highly technical nature of the BOD’s subject matter. Resp. at 35 and 40.

            A. Binding Operational Directives issued under FISMA are subject to APA
               review.

        Defendants argue that “numerous plaintiffs have brought APA challenges seeking to

enjoin agency decisions under [FISMA],” yet “[n]ot one of these suits has prevailed, and every

court to consider the issue has agreed that decisions under FISMA are committed to agency

discretion and thus outside the scope of APA review.” Resp. at 13. Defendants cite only three

FISMA cases in support, each involving a class action seeking monetary damages, but none

instructive here. See Resp. at 37-8.5 Defendants have not referenced a single case in which a

FISMA binding operational directive has been challenged under the APA, and for good reason:

this is the first such challenge.

        This is not a case where Plaintiffs “attempt to use the APA to police a federal agency’s

actions” under FISMA. Resp. at 3. Defendants rather have used FISMA to effectuate a

5
  See Resp. at 37-8 (citing Welborn v. IRS, 218 F. Supp. 3d 64 (D.D.C. 2016)(victims of cyber
breaches at federal agency suing agency, alleging its failure to comply with FISMA); In re U.S.
Office of Pers. Mgmt. Data Sec. Breach Litig., 266 F. Supp. 3d 1, 43-44 (D.D.C. 2017)(same);
and Cobell v. Kempthorne, 455 F.3d 301, 303 (D.C. Cir. 2006)(class action, brought prior to
2014 amendment of FISMA, by beneficiaries of American Indian Money trust accounts, based
on “Interior’s problems maintaining adequate computer security”). As Defendants’ lead case
makes clear, these “stand[] in stark contrast and are wholly inapplicable” to the reviewability
issue at hand. See Watervale Marine Co. v. DHS., 55 F. Supp. 3d 124, 135, 140 (D.D.C.
2014)(internal quotation omitted)(“All other courts that have addressed this statutory provision
have done so under markedly different circumstances”).

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debarment and one that is immediate and enhanced. They cannot escape the availability of the

APA to challenge debarment decisions, particularly where debarment is effected in a more

draconian fashion through a statute which was never intended to be used to debar individual

companies, rather than via the well-established and constitutionally sound FAR processes.

FISMA was established, and amended, so that DHS could establish uniform security standards

through binding operational directives and to otherwise protect federal information systems, not

so that it could be used to debar companies from federal contracting without due process.

       The starting point for Defendants’ “committed to agency discretion” argument must be

the presumption of reviewability. “The APA embodies the basic presumption of judicial review

to one suffering legal wrong because of agency action, or adversely affected or aggrieved by

agency action within the meaning of a relevant statute.” Delta Air Lines v. Export-Import Bank

of the US, 718 F. 3d 974, 976 (D.C. Cir. 2013) (internal quotations omitted). As a threshold

matter, “[t]he exception for agency action ‘committed to agency discretion by law’ is a very

narrow one, reserved for those rare instances where statutes are drawn in such broad terms that in

a given case there is no law to apply.” Hi-Tech Furnace Systs., Inc. v. FCC, 224 F.3d 781, 788,

343 (D.C. Cir. 2000)(internal quotation and citation omitted).          Rather, “there is a strong

presumption that agency action is reviewable and Congress rarely draws statutes in terms so

broad that there is no meaningful standard.” Kirwa v. DOD, 2017 U.S. Dist. LEXIS 176826, at

*28 (D.D.C. Oct. 25, 2017) (quoting Sec’y of Labor v. Twentymile Coal Co., 456 F.3d 151, 156

(D.C. Cir. 2006)).

       In an attempt to establish this “very narrow exception,” Defendants apply a three-part test

(Resp. at 36), inviting the court to evaluate: “(1) the nature of the administrative action at issue;

(2) the language and structure of the statute that supplies the applicable legal standards for



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reviewing that action, and (3) Congress’s intent to commit the matter fully to agency discretion

as evidenced by, among other things, the statutory scheme.” See Resp. at 36, citing Waterville 55

F. Supp. 3d at 137-38 (internal quotations omitted).

       Under the first factor, the BOD clearly is not one of the “categories of administrative

decisions that the Supreme Court and the D.C. Circuit consider presumptively unreviewable”—

as in “[f]or example, an agency’s refusal to take enforcement action.” Id. at 138 (internal

quotation omitted). Rather, as DHS makes clear in both its Information and Decision Memos, the

BOD has effectuated a debarment. See Information Memo for Acting Secretary, Sept. 1, 2017, at

AR0005-AR0006 and Acting Secretary Decision Memo, Sept. 13, 2017 at AR0631, sections

entitled “DEBARMENT.” DHS acknowledges it based the BOD solely on unclassified

information. See Acting Secretary Decision Memo at AR0631 (“I therefore hereby exercise my

authority…to issue BOD 17-01. I make this determination based on the unclassified record

alone.”).

       Under the second factor, Congress need only “provide[] a meaningful—not a rigorous,

but neither a meaningless—standard against which to judge the exercise of agency discretion.”

Arent v. Shalala, 70 F.3d 610-614 (D.C. Cir. 1995). The limitation of the BOD to “safeguard”

federal IT systems from “a known or reasonably suspected information, security threat,

vulnerability, or risk” certainty provides “meaningful standards” against which to measure

DHS’s action. 44 U.S.C. §§ 3552(b)(1), 3553(b)(2). See, e.g., Nicopure Labs, LLC v. FDA, 266

F. Supp. 3d 360 (D.D.C. 2017) (rejecting FDA’s committed-to-agency-discretion argument

where the statute gave the agency the authority to apply the Tobacco Control Act’s provisions

“to any other tobacco products that the Secretary by regulation deems to be subject to [that

Act].” (quoting 21 U.S.C.§ 387a(b)). Indeed, a “statute can confer on an agency a high degree of



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discretion, and yet a court might still have an obligation to review the agency’s exercise of its

discretion to avoid abuse, especially on procedural grounds.” Delta, 718 F.3d at 977 (quoting 3

Richard J. Pierce, Jr., Administrative Law Treatise § 17.6 (4th ed. 2002)). Clearly, FISMA

provides meaningful standards that qualify DHS’ discretion in issuing BODs, and has not

“vested [DHS with] complete discretion,” as Defendants claim. See Reply at 37. Nor is it

determinative, as Defendants suggest, that there is no statutory definition of what constitutes a

“‘known or reasonably suspected information security threat, vulnerability, or risk.’” It is within

the court’s power to interpret these qualifications based on their plain meaning or comparative

legal concepts.

       Finally, applying the third factor—Congress’ intent as evidenced by the statutory

scheme—as discussed supra, Defendants simply quote from inapplicable FISMA-related class

actions. Defendants fail to point to anything in FISMA that would indicate Congress intended to

allow DHS to effectuate a debarment beyond the reach of judicial review.

           B. There is no suggestion in the record of any operational urgency for the BOD.

       Defendants next argue that the U.S. government’s networks and computers security

“depends on the government’s ability to act swiftly and effectively in the face of rapidly

evolving cyber threats.” Resp. at 1. However, nothing in the administrative record or in the

Defendants’ Response indicates any operational urgency to this BOD. To the contrary,

Defendants (at Resp. FN1) cite to a 2012 Wired magazine article which contains many of the

same arguments that Defendants seek to rely on in support of the BOD over five years later.

       The only significant development in 2017 was intense political scrutiny following

Russia’s apparent interference in the 2016 presidential election, in which there is no allegation

that Plaintiffs had any involvement. See Resp. at 7-10. This political pressure culminated in the



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issuance of the BOD and the enactment of the NDAA, both of which bowed, unconstitutionally,

to that pressure in singling out and punishing Plaintiffs and depriving them of their due process

rights.

             C. The BOD is based on news reports and not on any highly technical or
                classified information.

          Defendants also argue that this is a circumstance in which enhanced deference is due to

their administrative decision-making process due to the “expert-driven and highly technical”

nature of the BOD and its subject matter. Resp. at 38.

          In reality, the BOD is neither highly technical nor expert-driven, the underlying

administrative record consists almost entirely of unsubstantiated news reports and allegations

against the company, which the court is well within its capability to review for their evidential

value.

          Defendants also claim that the “BOD was issued only after extensive investigation and

consultation with cyber security experts inside and outside of the [DHS].” Resp. at 1. But

nowhere in the administrative record is there any indication of these consultations. The only

support cited are two reports authored by the National Cybersecurity and Communications

Integration Center (“NCCIC”). NCCIC falls under DHS’ jurisdiction and so can hardly be

considered an independent assessment or interagency review. If other consultations occurred,

Plaintiffs request, and the court requires, that evidence of the same be added to the administrative

record filed by Defendants should they wish to rely upon them in this case.

          Defendants also claim their reliance on news reports is appropriate by citing cases where

news articles from “part of the unclassified record” (as in Zevallos v. Obama) or as part of “a

broad range of evidence” (as in Holy Land). However, in neither of these cases did the record

reflect such a heavy focus on news articles.


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       The D.C. Circuit’s express rationale for permitting reliance on news articles is simply

inapplicable here: (i) there is no need to protect confidential information, because the BOD is not

“based in part on classified information;” (ii) there are no “logistical or political difficulties

obtaining judicial or law enforcement records from other countries;” (iii) there are no

“diplomatic concerns … limiting what [the agency] can say publicly”—to the contrary, DHS has

been frank about its views; and (iv) there is no suggestion in this case that “the safety of

investigators or informants might be put at hazard.” See Zevallos v. Obama, 793 F. 3d 106, 113

(D.C. Cir. 2015).

       Moreover, in the cases allowing such a reliance, the media articles were used to establish

discrete facts—not ultimate legal conclusions, as here.       See, e.g., Id. at 112 (reliance on

newspaper articles that a designated drug kingpin controlled overseas assets). See also, People’s

Mojahedin Organization v. State, 182 F. 3d 17, 24-25 (D.C. Cir. 1999)(“[T]he Secretary had

before her information that each of the organizations engaged in bombing and killing in order to

further their political agendas. Any one of the incidents…would have sufficed under the

statute.”). And, in Holy Land Foundation v. Ashcroft, 333 F. 3d 156, 162 (D.C. Cir. 2003), the

D.C. Circuit made clear that, while the terrorist designation could be based on “a broad range of

evidence, including intelligence data and hearsay declarations”—Treasury’s decision “was based

on ample evidence in a massive administrative record”—including “testimony of numerous FBI

sources and findings by both Israeli and Palestinian governmental authorities.” (emphasis added).

       In contrast, as stated in the Plaintiffs’ Application, many sections of the BOD

Information and key DHS findings in support of the BOD’s three elements6 (and particularly the

6
  (1) The broad access to files and elevated privileges provided by antivirus products and
services, including Kaspersky products, that can be exploited by malicious cyber actors to
compromise information systems; (2) Ties between certain Kaspersky officials and Russian
intelligence and other government agencies; and (3) Russian legal provisions that allow Russian

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second and most critical of those three elements) allege “ties between certain Kaspersky officials

and Russian intelligence and other government agencies” and are supported exclusively by

uncorroborated news reports.

       Defendants also contend that to escape the BOD, it was for Plaintiffs to prove their own

innocence by “rebutting or disproving” these news articles. Resp. at 41. But it is the Defendants

who have failed to meet the evidentiary standards required of them in establishing a sufficient

risk to the government information systems that are supported by “substantial evidence.”

       Defendants continue to cite news articles in purported support for their Response (Resp.

FN 11), as if they were determinative of fact, and as a substitute for genuine or meaningful

agency fact-finding. Since the substance of those allegations are not determinative of this Motion,

and since Plaintiffs have already responded to these substantive issues in detail in the Kaspersky

Submission, Plaintiffs do not intend to address or refute them here, save to note their continued

objection both to their substance and their continued perpetuation without corroboration.

       In an apparent attempt to distract from the deficiencies in the administrative record,

Defendants have again alluded to the classified materials considered by the Acting Secretary,

Resp. at 10., as if the existence of such a record, regardless of its content, lends weight to their

arguments on national security grounds. At the same time, Defendants also reiterate their claim,

as they have done throughout this process, that “DHS believes that the BOD can be sustained on

the basis of the unclassified portions of the administrative record.” Resp. at FN 12. An APA

challenge examines only what the agency actually considered and relied upon in making its

decision. If Defendants in fact did not rely on the classified record, they should strike their




intelligence agencies to request or compel assistance from Kaspersky and to intercept
communications transiting Russian networks.

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repeated references throughout the unclassified record and their tacit insinuation that if we were

to pull back the curtain, all potential questions and concerns would be satisfied.

       Plaintiffs do not seek this Court’s assessment or ruling on those allegations, nor (as

Defendants allege at Resp. 45.) do Plaintiffs ask the Court to “second guess” any determination

of DHS in that regard. Rather, Plaintiffs simply request the court to uphold the requirements of

the APA and Plaintiffs’ constitutional rights to due process, and that Defendants properly

consider this matter in line with their legal and constitutional obligations.

       IV. Plaintiffs have Established Remaining Elements for Preliminary Injunction.

       Finally, Defendants’ remaining arguments on the preliminary injunction standard are not

availing. See Resp. at 42-43. First, they claim that the heightened requirement applies to a

“mandatory injunction,” where the plaintiff seeks to compel a “positive act.” See Qualls v.

Rumsfeld, 357 F. Supp. 2d 274, 286 (D.D.C. 2005) (“the court would order the Army to

discharge Qualls”); Nat'l Conference on Ministry to the Armed Forces v. James, 278 F. Supp. 2d

37, 42 (D.D.C. 2003) (seeking mandamus requiring defendant to include plaintiff in fundraising

program). But Plaintiffs are not seeking to compel Defendants to accept their products or to

install products on their systems. They are seeking a preventative injunction, one that would

stem a continuing injury.

       Second, there is no merit to Defendants’ claim that Plaintiffs’ grave financial and

reputational harm does not amount to irreparable harm. Defendants rely on Wisconsin Gas Co.

v FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)—but that was not an APA case, nor is it instructive

here. See also, Open Cmtys. All. v. Carson, 2017 U.S. Dist. LEXIS 211319, *67 (D.D.C. Dec.

23, 2017)(explaining that defendants “misread” Wisconsin Gas, and holding that in an APA case

monetary losses can establish irreparable harm because “APA provides no damages remedy.”).


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       Plaintiffs’ financial harm is anything but speculative, nor is there any question that

Plaintiffs are directly harmed by the BOD. (Cf, Wisconsin Gas, 758 F.2d at 675 (denying

preliminary injunction based on a “purely hypothetical chain of events.”)) Moreover, that other

sources of reputational harm may have contributed does not preclude relief. See Supra.

       Finally, on balance of equities, it bears repeating: “[T]he power of debarment is

tantamount to one of life or death over a business.” Gonzalez 334 F.2d at 575, n.5 (quotation

omitted). To effect this debarment, Defendants violate well-established standards of due process

and the APA. As this Court has held, “There is generally no public interest in the perpetuation of

unlawful agency action.     To the contrary, there is a substantial public interest in having

governmental agencies abide by the federal laws—such as the APA…” Open Cmtys. 2017 U.S.

Dist. LEXIS 211319 at *68-69 (internal quotations omitted).


                                        CONCLUSION

       For the reasons set out above and those set out in its Memorandum of Law in Support of

Preliminary Injunction, Plaintiffs respectfully repeat their request that the Court grant their

Application, and preliminarily invalidate and rescind the BOD and the December 6, 2017, Final

Decision maintaining the BOD, and preliminarily enjoin DHS from enforcing the BOD and the

Final Decision.




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Dated: February 12, 2018

Respectfully submitted,

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